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               UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
    Plaintiff,

v.                                            21-cr-00191-JEB-1
RYAN SCOTT ZINK
    Defendant.

 RYAN SCOTT ZINK’S MOTION TO ADJUST RELEASE CONDITIONS

      COMES NOW Defendant Ryan Scott Zink (“Zink”), by undersigned

counsel, with the following motion to modify his release conditions. Zink has been

under some form of release conditions for three years and has had no violations.

His current release conditions, although they encompass a large part of Texas, is

inhibiting Zink’s professional life. Zink currently works on oil rigs that require

constantly changing where he reports to work, and thus he needs access to different

counties. His job takes him throughout Texas and New Mexico. Any hinderance on

this would effectively leave him unemployed and unemployable. He currently has

an offer to be a Safety Supervisor, which requires this fluidity of movement

between and throughout Texas and New Mexico. Zink is happy and open to

provide constant contact with his respective parole officer to report where and

when he is traveling when asked, but the current restrictions will restrict him from

doing the same job he has been doing for years. The current job market paired with
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his experience in this field means that making Zink switch jobs would be a grave

injustice and financially devastating for him and his young family.



Given the misdemeanor charges and the fact that Mr. Zink is not a flight risk, we

respectfully request this court to modify the release conditions to encompass all of

Texas and New Mexico so that Zink can continue to work in his current field as he

has for his entire life.



Date: Dec 13, 2024                           Respectfully Submitted,


                                             /s/ Roger I. Roots
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                           CERTIFICATE OF SERVICE
I, Roger I. Roots, hereby certify that on this day, December 13, 2024, I caused a
copy of the foregoing document to be served on all counsel through the Court’s
CM/ECF case filing system.


                                             /s/ Roger I. Roots
                                             Roger I. Roots
